Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 1 of 19 PageID 1
Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 2 of 19 PageID 2
Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 3 of 19 PageID 3
Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 4 of 19 PageID 4
Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 5 of 19 PageID 5
Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 6 of 19 PageID 6
Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 7 of 19 PageID 7
Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 8 of 19 PageID 8
Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 9 of 19 PageID 9
Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 10 of 19 PageID 10
Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 11 of 19 PageID 11
Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 12 of 19 PageID 12
Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 13 of 19 PageID 13
Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 14 of 19 PageID 14
Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 15 of 19 PageID 15
Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 16 of 19 PageID 16
Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 17 of 19 PageID 17
Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 18 of 19 PageID 18
Case 3:13-cv-00161-TJC-MCR Document 1 Filed 02/14/13 Page 19 of 19 PageID 19
